Case 2:10-cv-11361-Dl\/lL-P.]K ECF No. 3 filed 04/06/10 PagelD.lS Page 1 of 1

M|ED (Rev. 5/0 5) Statement of Disc|osure of Corporate Aft'i|iations and Financial interest

UN|TED STATES D|STR|CT COURT
EASTERN D|STR|CT OF M|CH|GAN

PepsiCo, |nc.,
Plaintiff(s), Case No.
v. Judge
lntrastate Distributors, lnc., Magistrate Judge
Defendant(s).
/

 

STATEMENT OF D|SCLOSURE
OF CORPORATE AFF|L|AT|ONS AND F|NANC|AL |NTEREST

Pirsuant to E. o. Mich. LR 83.4, Plaintift, PepSiCo, lnc.,

makes the following disclosure: (NO TE: /l negative report if appropriate /'$ required.)

1.

Date:

ls said corporate party a subsidiary or afhliate of a publicly owned corporation?

Yes [___I No g

lf the answer is es, list below the identity of the parent corporation or affiliate and the relationship
between it and t e named party.

Parent Corporation/Afhliate Name:
Relationship with Named Party:

ls there a publicly owned corporation or its aftiliate, not a party to the case, that has a substantial financial
interest in the outcome of the litigation?

Yes l___l No m

lf the answer is yes, list the identity of such corporation or afhliate and the nature of the financial interest.

Parent Corporation/Afhliate Name:
l\lature of Financial lnterest:

April 6, 2010 /S/ Kathleen A. Lang

Kathleen A. Lang

P34695

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